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 AO 91 (Rev. 11/11) Criminal Complaint


                                      UNITED STATES DISTRICT COURT
                                                               for the
                                                      Southern District of Texas

                   United States of America                       )
                               v.                                 )
                   Andres ANDAVERDE III                                   Case No.
                                                                  )
                                                                  )
                     Angel ANDAVERDE
                                                                  )
                                                                  )
                                                                  )
                           Defendant(s)


                                              CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
 On or about the date(s) of               December 22, 2019              in the county of                Jim Hogg             in the
        Southern        District of           Texas           , the defendant(s) violated:

             Code Section                                                   Offense Description
8 USC 1324                                 Knowing and in reckless disregard of the fact that an alien had come to, entered, and
                                           remained in the United States in violation of law, did transport and move and attempted to
                                           transport and move and conspired to transport and move such alien within the United
                                           States by means of transportation and otherwise in furtherance of such violation of law.



          This criminal complaint is based on these facts:
Continued on Affidavit




         [l]continued on the attached sheet.                                                    IS/Joshua Steele
                                                                                             Complainant's signature

                                                                         Joshua Steele                     Border Patrol Agent
                                                                                              Prmted name and lllle
 Sworn to before me and signed in my presence,



Date:    December 26, 2019
                                                                                                Judge 's signature

City and state:      ----------------
                     Laredo, Texas                                       Sam Sheldon                       U.S. Magistrate Judge
                                                                                              Printed name and title
CONTINUATIONCase
             OF CRIMINAL  COMPLAINT
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                                                                 AFFIDAVIT
                                                        In support of Criminal Complaint


     UNITED STATES OF AMERICA                                                    ·CRIMINAL COMPLAINT
                    V.
     Andres ANDAVERDE III and Angel ANDAVERDE                                        Case Number:




     1.       On December 22, 2019, at approximately 1:14 PM, Border Patrol Agents (BPAs) working in the Hebbronville, Texas, in
     Jim Hogg County area received a phone call from the Department of Public Safety (DPS) requesting assistance for one of their
     Troopers that conducted a traffic stop on a green Nissan pickup truck for a traffic violation on State Highway 16.

     2.        Once on scene BPAs observed the front occupants and three individuals in the rear seat. BPAs performed an immigration
     inspection on all the passengers inside the vehicle. It was determined that the driver, later identified as Andres Andaverde III and the
     front passenger, later identified as Angel Andaverde were both Unites States Citizens. The rear passengers were illegally present in
     the United States with no legal documents to remain in the United States. All subjects were placed under arrest and transported to
     the Hebbronville Border Patrol Station. DPS Trooper issued Andres Andaverde III a citation having dark tint on the vehicle
     windows, no driver license, and failure to maintain financial responsibility.

     3.      Andres Andaverde Ill (Andaverde III) was read his Miranda Rights by BPA and witnessed by BPA. Andres Andaverde III
     acknowledged his rights by signing service form 1-214 but refused to answer any questions at that time.

     4.      Angel Andaverde (Andaverde) was read his Miranda Rights by BPA and witnessed by BPA. Angel Andaverde
     acknowledged his rights by signing service fonn 1-214 and was willing to answer questions without an attorney present.

      5.       Angel Andaverde stated that he was woken up this morning by his brother Andres Andaverde III and asked him to ride
     with him to San Antonio,Texas to take care of some business. Andaverde stated that his brother Andaverde III was going to pick up
     three subjects and take them to San Antonio or Houston. Andaverde stated that he knew that the people were illegal aliens.
     Andaverde stated that his brother offered him part of his cut but he refused to get paid and that he was going with him just to make
     sure that he was safe. Andaverde stated that his brother told him that he was dropping them off before the checkpoint. Andaverde
     stated that his brother told him that they may get in trouble. Andaverde stated that he thought h.is brother was using a GPS to know
     where to drop the subjects. Andaverde knew that transporting illegal aliens is a crime.

      6.      Material Witness, Jalber Manuel Lopez Perez, stated he is a national or citizen of Guatemala, and he made arrangements at
     the border to pay $7,000 USD to be smuggled into the Unites States to his final destination in Arizona. Lopez Perez stated that once
     he crossed illegally into the United States, he was taken to a house in Roma, Texas where he was picked up at around 10 in the
     morning by a dark color 4 door pickup truck. Lopez Perez stated that there were two people in the rear seat of the pickup truck.
     Lopez Perez stated that the driver knew that he was illegally present in the United States. Lopez Perez stated that the driver dropped
     them off along the highway and told them to wait in the brush for his call. to be picked up again due to law enforcement presence.
     Lopez Perez stated that they waited approximately 30 minutes in the brush then they were picked up by the same driver and
     passenger in the same pickup truck. Lopez Perez was able to identify the driver in a six photo lineup.

     7.       Material Witness, Henry Riberto Chavez Gomez stated that he is a national or citizen of Guatemala and his cousin made
     arrangements and paid $1,000 USD for him to be smuggled illegally into the United States to his final destination in Houston, Texas.
     Chavez Gomez stated that he crossed the river by raft and then he was instructed to go to a house. Chavez Gomez stated once at the
     house they were instructed to get into the back seat of a black pickup truck. Chavez Gomez stated that the driver instructed them to
     crouch down before arriving to the immigration checkpoint. Chavez Gomez stated that the driver told them that he was taking them
     to Houston, Texas. Chavez Gomez was able to identify the driver in a six photo lineup.
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